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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION



 ECOFACTOR, INC.,
                                                     Case No. 6:22-cv-00069-ADA
                          Plaintiff,

                     v.                              JURY TRIAL DEMANDED

 RESIDEO TECHNOLOGIES, INC.,

                          Defendant.



   NOTICE OF JOINT STIPULATION REGARDING EXTENSION OF DEADLINES

        Pursuant to the Court’s Amended Standing Order Regarding Joint or Unopposed Request

to Change Deadlines dated March 7, 2022, Plaintiff EcoFactor, Inc. (“Plaintiff” or “EcoFactor”)

and Defendant Resideo Technologies, Inc. (“Resideo”) (collectively, “Defendants”) provide notice

that the parties have agreed to change the deadlines set forth in the table below. Consistent with

the Court’s Amended Standing Order, the parties state that this request is agreed to between the

parties, this request does not change the date of any hearing, trial, or other Court date, and this

request does not extend any deadline of a final submission that affects the Court’s ability to hold

a scheduled hearing, trial, or Court event.

                             Event                            Current Date          New Date
 Close of Fact Discovery.                                    April 28, 2023      May 5, 2023
 Opening Expert Reports.                                     May 5, 2023         May 12, 2023
 Rebuttal Expert Reports                                     June 2, 2023        June 7, 2023



Dated: April 28, 2023                             Respectfully submitted,




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                               CERTIFICATE OF SERVICE

        I hereby certify that counsel of record who are deemed to have consented to electronic

service are being served on April 28, 2023, with a copy of this document via the Court’s CM/ECF.

                                            /s/ Reza Mirzaie
                                            Reza Mirzaie




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